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 8                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9                                  SOUTHERN DIVISION
10
     MARY URENDA,                           )
11                                          ) Case No.: 8:16-cv-00249-JLS-KES
                                            )
12                    Plaintiff,            )
                                            )
13           v.                             ) ORDER
                                            )
14                                          )
     LOANME, INC.,                          )
15                                          )
                                            )
16                                          )
                      Defendant.            )
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                                      ORDER OF DISMISSAL

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     Case 8:16-cv-00249-JLS-KES Document 23 Filed 05/03/17 Page 2 of 2 Page ID #:99




 1           Based upon the Joint Stipulation of Dismissal by all appearing parties and
 2   pursuant to Fed. R. Civ. P. 41(a)(1), the above reference matter is hereby dismissed
 3   with prejudice. Each party to bear its own attorneys’ fees and costs.
 4

 5   IT IS SO ORDERED.
 6   Dated: May 3, 2017                          JOSEPHINE L. STATON
                                            _______________________________
                                            HON. JOSEPHINE L. STATON
 7
                                            UNITED STATES DISTRICT JUDGE
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                                      ORDER OF DISMISSAL

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